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                        EXHIBIT B
Case 5:22-cv-01019-RGK-KK Document 1-2 Filed 06/22/22 Page 2 of 3 Page ID #:25



 From: Paul Khan <paulkhanstein@gmail.com>
 Date: Mon, Mar 7, 2022 at 4:57 PM
 Subject: Re: QUESTIONS
 To: Salgado family trucking Inc <salgadofamilytruckinginc@gmail.com>



 NEED THE ACQUISITION AGREEMENT NOT THE SHARE EXCHANGE AGREEMENT

 - to be clear, Salgado Family is a wholly owned subsidiary of Bell Rose. They exist as separate entities.

 . ALSO NEED THE DOCUMENT THAT SHOWS WE FILLED WITH CALIFORNIA AND WYOMING AS A
 MERGER. CANNOT GO FURTHER TILL I HAVE THESE
 - of course you can. Salgado is a subsidiary of Bell Rose so you will be posting consolidated financials.



 Paul Khan, B.B.M.D.
 Mergers and Acquisitions Consultant
 (416)565-8143


 This email message, including attachments, contains information which may be confidential and/or
 legally privileged. Unauthorized disclosure and/or use of information contained in this email may result
 in civil and criminal liability.



 On Mar 7, 2022, at 19:52, Salgado family trucking Inc <salgadofamilytruckinginc@gmail.com> wrote:


 I BEEN LOCKED UP GETTING THESE FIN FACIALS DONE . I WAS HOSPITAL LAST WEEK AS WELL. BUT I FELL
 BETTER NOW

   I NEED THE ACQUISITION AGREEMENT NOT THE SHARE EXCHANGE AGREEMENT
 . ALSO NEED THE DOCUMENT THAT SHOWS WE FILLED WITH CALIFORNIA AND WYOMING AS A
 MERGER. CANNOT GO FURTHER TILL I HAVE THESE




 MAY YOU CONTINUE TO BE BLESSED
      CEO Carlos Z Salgado
  SALGADO FAMILY TRUCKING INC
        (909) 662-6973
Case 5:22-cv-01019-RGK-KK Document 1-2 Filed 06/22/22 Page 3 of 3 Page ID #:26




 On Mon, Mar 7, 2022 at 4:47 PM Paul Khan <paulkhanstein@gmail.com> wrote:
 Hi Carlos,

 I have all the documents.

 Can you ask Mark to specifically list the documents needed? I spoke to him two weeks ago and he was
 going to send the required documentation? We have “all the necessary documents”!

 More importantly, how come you and Necuh have not been responding in a timely manner?

 Please reply


 Paul Khan, B.B.M.D.
 Mergers and Acquisitions Consultant
 (416)565-8143


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 legally privileged. Unauthorized disclosure and/or use of information contained in this email may result
 in civil and criminal liability.


> On Mar 7, 2022, at 18:39, Salgado family trucking Inc <salgadofamilytruckinginc@gmail.com> wrote:
>
>
> HELLO PAUOL JUST WANTED TO LET YOU KNOW I BEEN ON TRACK WITH FINANCIALS SHOULD HAVE
THEM IN BY END OF WEEK.
> I NEED TO FIND SOME DOCUMENTS CAN YOU ASSIST ME OR LET ME KNOW WHAT THEY ARE UNDER I
NEED THE ACQUISITION AGREEMENT BECAUSE THEY SAID THE ONE I WAS GIVEN SAYS ACQUISITION
AGREEMENT BUT IT ITDS JUST A SHARE EXCHANGE AGREEMENT. ALSO NEED ANY DOCUMENT THAT
SHOWS WE FILLED WITH CALIFORNIA AND WYOMING AS A MERGER. WE ARE HITTING THE TIER ONE
AND NEED TO MAKE SURE WE HAVE ALL THE NECESSARY DOCUMENTS IN PLACE.
>
>
>
> MAY YOU CONTINUE TO BE BLESSED
>       CEO Carlos Z Salgado
> SALGADO FAMILY TRUCKING INC
>         (909) 662-6973
>
